Case 2:23-cr-00159-HCN-DBP Document 220 Filed 05/02/24 PageID.3410 Page 1 of 5



 Paul-Kenneth: Cromar
 Defendant in error, Sui Juris [prose]
 c/o Davis County Correctional Facility- inmate #567164
 800 W. State Street
 Farmington, Utah 84025
 801-451-4100




                              IN THE UNITED STATES DISTRICT COURT

                                            DISTRICT OF UTAH



                                                        I
         "PAUL KENNETH CROMAR"                          I      MOTION TO POSTPONE MAY 21, 2024

                  Defendant in-error                    / TRIAL FOR LACK OF DISCOVERY, BRADY, AND

                                                        /    ACCESS TO DEFENDANT'S EVIDENCE, AND

         v.                                             /    DECISIONS ON TWO MOTIONS TO DISMISS

                                                         I
         UNITEDS STATES OF AMERICA                      I          case # 2:23-cr-00159-HCN-DBP

                  Plaintiff in-error                    I            Judge Howard C. Nielson Jr.

                                                         I



                                                INTRODUCTION

     Comes now, Paul-Kenneth: Cromar 1, defendant in-error, "Ken", Sui Juris [prose], who does

 hereby respectfully present on the record of this court this MOTION TO POSTPONE MAY 21,

 2024 TRIAL FOR LACK OF DISCOVERY, BRADY, AND ACCESS TO DEFENDANT'S EVIDENCE, AND

 1
   "Ken", a red-blooded American, a sovereign anointed son and heir to God. See also footnotes 1-4, 7-8, from
 Defendants Motion to Dismiss (docket #70) and also as, of yet unrebutted Defendant's AFFIDAVIT (docket #71) for
 jurisdictional and definition of terms. Note: An unrebutted affidavit stands as fact. Also, Defendant elected to
 proceed only under Constitutional Common law (see docket #25).


                                                         1
Case 2:23-cr-00159-HCN-DBP Document 220 Filed 05/02/24 PageID.3411 Page 2 of 5




 DECISIONS ON TWO MOTIONS TO DISMISS, related to a trial currently scheduled for May 21,

 2024, -- for good cause showing, as provided hereunder:




               FACTS SURROUNDING THE NEED TO POSTPONE MAY 215rTRAIL DATE

 1.   This court has the discretion to grant a motion to postpone the trial date as part of its

 inherent power to control its own docket to ensure that cases proceed before it in a timely

 manner - in the pursuit of justice.

 2.   Additionally, this request to postpone is not for delay, but rather to insure the Defendant

 can properly prepare an adequate defense, so that justice may be done.

 3.   At the March 28, 2024 Status Hearing the Defendant explained:

        DEFENDANT CROMAR: When we discussed the trial, we were really pushing hard for

        the 21 st of May, but we ... I reserved the right and concern that there would not be

         enough time, and ... but I'm trying to work as quickly as possible to accommodate that

        desired schedule.

        COURT: OK. Understood.

                                   (March 28, 2024 Status Hearing Transcript, page 10, line 16-20)




 4.   In the Defendant's "MOTION to Continue Trial Date from March 6th Conditionally to May 7,

 2024" (see Docket #141), the Defendant explained that the proposed May date change was

 "conditional" on Pre-Trial release to have the time necessary to be able to access, gather and

 organize his own "papers and effects", computer files, email records, audio and video files, and

 to be able to provide the reciprocal evidence as requested by the Prosecution for the UNITED

 STATES OF AMERICA. However, most importantly, the missing records are needed in order for

 the Defendant to organize and prepare a proper defense against this Grand Jury Indictment -- in

 the pursuit of justice.



                                                  2
Case 2:23-cr-00159-HCN-DBP Document 220 Filed 05/02/24 PageID.3412 Page 3 of 5




 5.   The Defendant's EMERGENCY MOTION for Revocation of Detention Order (see Docket

 #142) was DENIED, thus further complicating the already optimistic May 21 st trial date.

 6.   Additionally, recently the new replacement for Ty (who resigned Jan 4, 2024) named

 Stephanie Shumacher has changed the rules, which now make access to the "Law Library"

 (classroom) more difficult. (see Docket #203) Her new rules now change how the access to

 Laptop and Classroom is obtained, are more prohibitive and include:

        -   Now only Monday thru Friday, with no weekend work allowed.

            Now only available 8 to 5 pm, when we were previously able to work into the

            evening.

            Now, reduced to being allowed to only bring in three (3) small manila envelopes into

            the "Law Library" classroom, completely hampering the Defendant's ability to freely

            look through and reference all the filings with the docket, and transcripts, etc. -

            thus complicating work process. (Question: Could the Prosecutors for the United

            States of America could start and end their work day with access to only whatever

            they could fit in three manila envelopes to work from?)

 7.   Additional points which also significantly impact the need to postpone the May 21, 2024

 Trial date include but are not limited to:

        -   Two Motions to Dismiss have not yet been GRANTED or DENIED by court.

            Legal Service by the Prosecution doesn't currently exist. (See separate Motion to

            Dismiss for Insufficient Service of Process.) Despite numerous exchanges in hearings

            and documentation within various filings (including Docket #142, paragraphs 101

            through 103 with footnotes), the Government continues to refuse to provide

            consistent Service of Process to the Defendant, thus contributing to the delay of due

            process of Jaw, timeliness of his filings, and preparation for the scheduled May 21,

            2024 trial. The Government's most recent RESPONSE (Docket #199) highlights the

            most recent failure. These documents do not include Certificates of Service. The

            court may recall that this is an old well known subject, which months ago the record

                                                  3
Case 2:23-cr-00159-HCN-DBP Document 220 Filed 05/02/24 PageID.3413 Page 4 of 5




           shows that the Defendant had "NEVER [been] provided service of filings until the

           first time December 4, 2023 - a full 97 days after the Defendant being arrested".

           This continued shameless failure of Service continues to challenge an already

           compromised Defendant working sui juris [prose] from within a jail, and begs the

           question, "Is this lack of due process of law intentional and done with malice and

           contempt?" Should the Defendant seek Dismissal of the case along with sanctions

           against the Prosecutors for the UNITED STATES OF AMERICA?

       -   Also, some USPS mail delivery appears delayed. For example, according to the

           postmark on the envelope, an Ex Parte communication from the court was mailed

           April 23, 2024, and not actually received by the Defendant at his cell until last night

           April 30th at 6:10 p.m., by Deputy Anguiano and Deputy Seifert- a full 7-days after

           mailing. (Addendum: This instant Motion was prepared and ready for filing with

           the clerk of the court on May 1, however, despite promises by jail personnel to print

           and notarize this document, they left without doing so. Apologies. But, this does

           serve to highlight the ongoing, regular daily challenges that do impact the court

           schedule, that are outside of the Defendant's control.)

           Documentation requested in Defendant's "Motion for Full Disclosure of Exculpatory

           Evidence Through Discovery" (see Docket #194), are unaddressed. This will be

           highlighted in a forthcoming REPLY, as the Defendant still needs the original SFR

           documents indicated in the formal IRS Account Transcripts for every single tax year

           which has not yet been produced, because the dates on neither the 6020{b)

           certification Certificates nor the Form 4549-A ("Income Tax Discrepancy

           Adjustments") match the date on DD-150 SFR transaction line entry shown on every

           Account Transcript, shown as the first transaction in that tax year on every Account

           Transcript. {Ibid, and see also #213 Government's Response thereto.) The ruling on

           this has not yet been GRANTED or DENIED by court.

           Lack of accessible and/or discoverable Grand Jury records, transcripts, audio, etc.




                                                 4
Case 2:23-cr-00159-HCN-DBP Document 220 Filed 05/02/24 PageID.3414 Page 5 of 5




        -     A decision on Motion for Leave to File beyond April 12 deadline for Motions in

              Limine, Jury instructions, etc., has not yet been GRANTED or DENIED by court. (see

              Docket #203 - Motion for Extension of Time to File Documents Required by 4/12/24)




                                                    SUMMARY

 8.   When originally setting a trial date, the court itself acknowledged that the May 21, 2024,

 may be optimistic, and is now proven correct. This request for postponement will not unduly

 inconvenience the Court because the Court's schedule, which is under its own control and can

 be arranged to eliminate or minimize the inconvenience - in its constant pursuit of justice.




                                                PRAYER FOR RELIEF

 9.    Therefore, for the above cited reasons, for good cause showing, the Defendant in error

 respectfully moves the court to postpone the May 21 st trial date, to some future date after the

 outstanding items, including but not limited to those detailed above, are resolved - in the
 interest of Justice.

            Respectfully and In Honor, presented to this court on the ~ a y of the .S:::¾onth

                                                   in the year of our Lord Jesus Christ, anno domini 2024,




                                                             Paul-Kenneth: Cromar / Defendant in error


                                    STATE OF UTAH - DAVIS COUNTY - NOTARY JU RAT

         The foregoing instrument was acknowledged before me this          2,.., day of ~'!in the year
         of our Lord Jesus Christ, ano domini 2024, presented by     ~~ \ C:r o Me:,, v                  .
         Notary n_ame:        ~~\ ~Olt\lv commission expires IS K""'- U,"2,:J.
         Notary signature: ?Jq."!fs;~::::;;;;;=======s-------·
                                                s
        AMY E HUTCHIN
      tary Public - State of Utah
        Comm. No. 730003                                 5
        Commission Expires on
                  , 2027
